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  1    JOHN-PATRICK M. FRITZ (State Bar No. 245240)
       LEVENE, NEALE, BENDER,
  2    YOO & GOLUBCHIK L.L.P.
  3    2818 La Cienega Avenue
       Los Angeles, California 90034
  4    Telephone: (310) 229-1234
       Facsimile: (310) 229-1244
  5    Email: JPF@LNBYG.COM
  6    Attorneys for Chapter 11
  7    Debtor and Debtor in Possession

  8
                             UNITED STATES BANKRUPTCY COURT
  9                           CENTRAL DISTRICT OF CALIFORNIA
                                   LOS ANGELES DIVISION
 10
      In re:                                           )   Case No.: 2:22-bk-10266-BB
 11                                                    )
      ESCADA AMERICA LLC,                              )   Chapter 11 Case
 12                                                    )   Subchapter V
 13             Debtor and Debtor in Possession.       )
                                                       )   Notice to Professionals of Hearing on
 14                                                    )   Applications for Approval of Fees and
                                                       )   Reimbursement of Expenses in Chapter 11
 15                                                    )   Bankruptcy Case
                                                       )
 16                                                    )   Hearing:
 17                                                    )   Date: June 1, 2022
                                                       )   Time: 10:00 a.m.
 18                                                    )   Place: Courtroom 1539
                                                       )          255 East Temple Street
 19                                                    )          Los Angeles, CA 90012
                                                       )
 20                                                    )   Hearing to be held in-person and by video-
 21                                                    )   conference Government Zoom, see Court’s
                                                       )   website under “Telephonic Instructions” for
 22                                                    )   more details:
                                                       )   https://www.cacb.uscourts.gov/judges/honor
 23                                                    )   able-sheri-bluebond
                                                       )
 24
                                                       )
 25                                                    )
                                                       )
 26                                                    )

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  1    TO ALL PROFESSIONALS EMPLOYED IN THE CHAPTER 11 CASE OF ESCADA

  2    AMERICA LLC:

  3           PLEASE TAKE NOTICE that a hearing will be held on June 1, 2022, at 10:00 a.m., at

  4    the above-captioned location, before the Honorable Sheri Bluebond, United States Bankruptcy

  5    Judge for the Central District of California (the “Court”), for the Court to consider the

  6    applications for approval of fees and reimbursement of expenses for the period of January 18,

  7    2022 through April 30, 2022, of the professionals who have been employed in the bankruptcy

  8    case of Escada America LLC (the “Debtor”).

  9           PLEASE TAKE FURTHER NOTICE that, pursuant to Local Bankruptcy Rule 2016-

 10    1(a)(2):
                    Other professional persons retained pursuant to Court approval may
 11                 also seek approval of interim fees at this hearing, provided that they
                    file and serve their applications in a timely manner. Unless
 12                 otherwise ordered by the Court, hearings on interim fee applications
                    will not be scheduled less than 120 days apart.
 13

 14           PLEASE TAKE FURTHER NOTICE that Levene, Neale, Bender, Yoo & Golubchik

 15    L.L.P. (“LNBYG”), general bankruptcy counsel to the Debtor, will be serving a notice (the

 16    “Notice”) of its application for approval of fees and reimbursement of expenses on May 11,

 17    2022. If you wish for LNBYG to include in the Notice the amount of interim fees and expenses

 18    that you will be requesting, you must furnish this information to LNBYG, attention J.P. Fritz,

 19    no later than 12:00 p.m. (noon) on May 9, 2022. Otherwise, you will be required to file and

 20    serve your own notice.

 21    Dated: April 13, 2022                       ESCADA AMERICA LLC
 22
                                           By: ___/s/ John-Patrick M. Fritz_____
 23                                              JOHN-PATRICK M. FRITZ
                                                 LEVENE, NEALE, BENDER,
 24                                              YOO & GOLUBCHIK L.L.P.
                                                 Attorneys for Chapter 11
 25
                                                 Debtor and Debtor in Possession
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  1                            PROOF OF SERVICE OF DOCUMENT
  2    I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
       address is 2818 La Cienega Avenue, Las Angeles, CA 90034
  3
       A true and correct copy of the foregoing document entitled Notice to Professionals of Hearing on
  4    Applications for Approval of Fees and Reimbursement of Expenses in Chapter 11 Bankruptcy
       Case will be served or was served (a) on the judge in chambers in the form and manner required by LBR
  5    5005-2(d); and (b) in the manner stated below:

  6    1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
       controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
  7    hyperlink to the document. On April 13, 2022, I checked the CM/ECF docket for this bankruptcy case or
       adversary proceeding and determined that the following persons are on the Electronic Mail Notice List
  8    to receive NEF transmission at the email addresses stated below:

  9                                                            Service information continued on attached page

 10    2. SERVED BY UNITED STATES MAIL: On April 13, 2022, I served the following persons and/or
       entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true
 11    and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
       addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
 12    completed no later than 24 hours after the document is filed.

 13       Service information continued on attached page
       The Honorable Sheri Bluebond                             Holthouse, Carlin & Van Trigt LLP
 14    United States Bankruptcy Court                           350 W. Colorado Blvd.
       Central District of California                           5th Floor
 15    Edward R. Roybal Federal Building and Courthouse         Pasadena, CA 91105
       255 E. Temple Street, Suite 1534 / Courtroom 1539
 16    Los Angeles, CA 90012

 17

 18    3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
       EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
 19    on April 13, 2022, I served the following persons and/or entities by personal delivery, overnight mail
       service, or (for those who consented in writing to such service method), by facsimile transmission and/or
       email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
 20    mail to, the judge will be completed no later than 24 hours after the document is filed.
 21                                                            Service information continued on attached page
 22    I declare under penalty of perjury under the laws of the United States of America that the foregoing is
       true and correct.
 23

 24    April 13, 2022            Jason Klassi                           /s/ Jason Klassi
       Date                           Type Name                         Signature
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  1
       2:22-bk-10266-BB Notice will be electronically mailed to:
  2
       Dustin P Branch on behalf of Creditor The Macerich Company
  3    branchd@ballardspahr.com, carolod@ballardspahr.com;hubenb@ballardspahr.com

  4    John C Cannizzaro on behalf of Creditor 717 GFC LLC
       john.cannizzaro@icemiller.com, julia.yankula@icemiller.com
  5
       Michael J Darlow on behalf of Creditor Harris County Municipal Utility District #358
  6    mdarlow@pbfcm.com, tpope@pbfcm.com

  7    Caroline Djang on behalf of Interested Party Caroline R. Djang
       caroline.djang@bbklaw.com, laurie.verstegen@bbklaw.com;wilma.escalante@bbklaw.com
  8
       Eryk R Escobar on behalf of U.S. Trustee United States Trustee (LA)
  9    eryk.r.escobar@usdoj.gov

 10    John-Patrick M Fritz on behalf of Debtor Escada America, LLC
       jpf@lnbyg.com, JPF.LNBYB@ecf.inforuptcy.com
 11
       William W Huckins on behalf of Creditor Brookfield Properties Retail, Inc.
 12    whuckins@allenmatkins.com, clynch@allenmatkins.com;igold@allenmatkins.com

 13    William W Huckins on behalf of Creditor SIMON PROPERTY GROUP INC
       whuckins@allenmatkins.com, clynch@allenmatkins.com;igold@allenmatkins.com
 14
       Gregory Kent Jones (TR)
 15    gjones@sycr.com, smjohnson@sycr.com;C191@ecfcbis.com;cpesis@stradlinglaw.com

 16    Michael S Kogan on behalf of Creditor Michael Kogan Law Firm, APC
       mkogan@koganlawfirm.com
 17
       Kristen N Pate on behalf of Creditor Brookfield Properties Retail, Inc.
 18    ggpbk@ggp.com

 19    Lindsey L Smith on behalf of Debtor Escada America, LLC
       lls@lnbyg.com, lls@ecf.inforuptcy.com
 20
       Ronald M Tucker, Esq on behalf of Creditor SIMON PROPERTY GROUP INC
 21    rtucker@simon.com, cmartin@simon.com;psummers@simon.com;Bankruptcy@simon.com

 22    United States Trustee (LA)
       ustpregion16.la.ecf@usdoj.gov
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